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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                                     Portland Division

Iran Thalassemia Association, et al.,
                                                Civil No. 3:22-CIV-1195
       Plaintiffs,
                                                MOTION FOR PRELIMINARY
               vs.                              INJUNCTION

Office of Foreign Assets Control, et al.,       EXPEDITED HEARING REQUESTED
       Defendants.

                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs Iran Thalassemia Society, H.K., A.M., S.N., M.M., FZ.H., F.E., and No

Child Should Suffer (Oregon DNC), (collectively, “Plaintiffs”), by and through their

attorneys, respectfully move this Court for a preliminary injunction as set out below and

for the reasons set out in the accompanying Memorandum in Support of Plaintiffs’

Motion for Preliminary Injunction. Fed. R. Civ. P. 65(a). Because of the extreme nature

of the irreparable injury to plaintiffs, an expedited hearing is requested.

       WHEREFORE, Plaintiffs respectfully request the Court grant their Motion and

issue a preliminary injunction pending a decision on the merits of Plaintiffs’ claims in this


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matter.

      Dated at Zigzag, Oregon, this 15th day of August 2022.



                                               /s/
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